            Case 8:15-cv-03885-TDC Document 7 Filed 05/12/16 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


MARY UMPHRIES,

       Plaintiff,

       v.
                                                        Civil Action No. TDC-15-3885
OXFORD LAW, LLC,

       Defendant.



                                             ORDER

       On May 11, 2016, Plaintiff Mary Umphries filed a Notice of Dismissal pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(i). ECF No. 6. The Court having reviewed the

Notice, it is hereby ORDERED that this action is dismissed without prejudice.

       The Clerk is directed to close this case.




Date: May 12, 2016                                                       /s/
                                                          THEODORE D. CHUANG
                                                          United States District Judge
